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              IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 In re:                                                Chapter 11

 CAESARS ENTERTAINMENT                                 Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                       Jointly Administered
                        Debtors.

                                   CERTIFICATE OF SERVICE

         Jeffrey Chubak, an attorney, certifies that on October 9, 2018, he caused a true and correct
copy of the Reply Memorandum of Law in Support of Earl of Sandwich’s Summary Judgment
Motion, originally filed October 8, 2018 under the ECF event “Brief in Support” (ECF No. 8426)
to be refiled under the ECF event “Reply in Support” (ECF No. 8430) causing notice of the latter
filing to be sent by e-mail to all persons on the annexed ECF Service List, and that he also e-mailed
a copy of said filing to Whitebox’s counsel at the following addresses: timothy.casey@dbr.com;
james.millar@dbr.com; clay.pierce@dbr.com.

                                                      /s/ Jeffrey Chubak
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                               ECF SERVICE LIST

David S. Adduce            dadduce@komdr.com
David Agay                 dagay@mcdonaldhopkins.com; mbrady@mcdonaldhopkins.com;
                           bkfilings@mcdonaldhopkins.com
Charles G. Albert          calbert@awpc-law.com; ecrouch@awpc-law.com
Stephanie Albrecht-Pedrick spedrick@youngbloodlegal.com
Angela M. Allen            aallen@jenner.com
R. Scott Alsterda          rsalsterda@nixonpeabody.com
Jeffrey E. Altshul         jaltshul@altshullaw.com
Rick Amos                  amoslaw@cableone.net
Margaret M. Anderson       panderson@foxswibel.com; cjelks@foxswibel.com;
                           bkdocket@foxswibel.com
George P. Apostolides      george.apostolides@saul.com; leanne.solomon@saul.com
Edmund Aronowitz           earonowitz@gelaw.com; alebdjiri@gelaw.com;
                           gnovod@gelaw.com; tschuster@gelaw.com;
Amy A Aronson              amyaronson@comcast.net
Reuel D Ash                rash@ulmer.com
Brian A. Audette           baudette@perkinscoie.com; nbagatti@perkinscoie.com;
                           docketchi@perkinscoie.com; brian-audette-perkins-coie-
                           8180@ecf.pacerpro.com; russ-allen-6413@ecf.pacerpro.com;
                           rdallen@perkinscoie.com
Jason Bach                 jbach@bachlawfirm.com; aloraditch@bachlawfirm.com;
                           sandra.herbstreit@bachlawfirm.com
Joseph A Baldi             jabaldi@baldiberg.com; jmanola@baldiberg.com;
                           r51351@notify.bestcase.com
Ronald Barliant            ronald.barliant@goldbergkohn.com;
                           kristina.bunker@goldbergkohn.com
Paige E. Barr              paige.barr@kattenlaw.com
William J. Barrett         william.barrett@bfkn.com; mark.mackowiak@bfkn.com;
                           gregory.demo@bfkn.com; ecf-6ec602372536@ecf.pacerpro.com;
                           william-barrett-bfkn-3622@ecf.pacerpro.com
Richard M Bendix, Jr       rbendix@dykema.com
Leslie Allen Bayles        leslie.bayles@bryancave.com
Robert R. Benjamin         rrbenjamin@gct.law; mperez@gct.law;
                           myproductionss@gmail.com; tstephenson@gct.law;
                           aleon@gct.law; r61390@notify.bestcase.com
Bruce Bennett              bbennett@jonesday.com; slevinson@jonesday.com;
                           dciarlo@jonesday.com
Michael T. Benz            benz@chapman.com; eickmann@chapman.com
Peter L. Berk              plberk@orb-legal.com; hmilman@orb-legal.com;
                           milmanhr42820@notify.bestcase.com; hmbonesteel@gmail.com
Mark A. Berkoff            mberkoff@ngelaw.com; cdennis@ngelaw.com;
                           ecfdocket@ngelaw.com mmirkovic@ngelaw.com
Florence Bonaccorso-Saenz florence.saenz@la.gov
Ross T. Brand              rbrand@klueverplatt.com; bknotice@klueverplatt.com
Adam G. Brief              Adam.Brief@usdoj.gov

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Erich S Buck                ebuck@ag-ltd.com; aweir@ag-ltd.com
Edwin H. Caldie             ed.caldie@stinson.com; laura.schumm@stinson.com
Matthew Callister           mqc@cll-law.com
Andrew D. Campbell          acampbell@novackmacey.com
Christine M Capitolo        cmc@tbpc.net
John P Carlin               jcarlin@suburbanlegalgroup.com;
                            suburbanlegalgroup@iamthewolf.com
Timothy R. Casey            timothy.casey@dbr.com; Andrew.groesch@dbr.com
Joseph E. Cohen             jcohen@cohenandkrol.com; jcohenattorney@gmail.com;
                            gkrol@cohenandkrol.com; jneiman@cohenandkrol.com;
                            acartwright@cohenandkrol.com
Christopher Combest         christopher.combest@quarles.com; Faye.Feinstein@quarles.com;
Christopher M. Cahill       ccahill@lowis-gellen.com; abockman@lowis-gellen.com
Kurt M. Carlson             kcarlson@carlsondash.com; knoonan@carlsondash.com;
                            bmurzanski@carlsondash.com
Frederick L Carpenter       fcarpenter@dfreeland.com
Stephen B. Chaiken          schaiken@ag-ltd.com; aweir@agltd.com
Hugo L. Chanez              hchanez@cochranfirm.com
Thomas A. Christensen       tchristensen@huckbouma.com;mheneghan@huckbouma.com
Scott R Clar                sclar@craneheyman.com; mjoberhausen@craneheyman.com;
                            asimon@craneheyman.com
William J. Connelly         wconnelly@hinshawlaw.com;ihernandez@hinshawlaw.com
Daniel Czamanske            dan@chapman-lewis-swan.com; debbie@chapman-lewis-
                            swan.com
Ryan Dahl                   ryan.dahl@kirkland.com; david.eaton@kirkland.com;
                            joe.graham@kirkland.com; josh.altman@kirkland.com;
                            alyssa.bachman@kirkland.com;
                            nicole.stringfellow@kirkland.com
Ryan A Danahey              rad@doherty-progar.com
Debra Dandeneau             Debra.Dandeneau@bakermckenzie.com
Alex Darcy                  adarcy@askounisdarcy.com
Aaron Davis                 aaron.davis@bclplaw.com; kathryn.farris@bclplaw.com;
                            CHDocketing@bclplaw.com
Jason J DeJonker            jason.dejonker@bclplaw.com; carol.duracka@bclplaw.com;
                            chdocketing@bclplaw.com
Denise A. Delaurent         Denise.DeLaurent@usdoj.gov;maria.r.kaplan@usdoj.gov
Maria A Diakoumakis         mdiakoumakis@dykema.com; DocketCH@dykema.com;
                            bmederich@dykema.com
Edward Dial                 edial@schreiblaw.com
Chris L. Dickerson          chris.dickerson@dlapiper.com; jeremy.hall@dlapiper.com;
                            jonathan.pfleeger@dlapiper.com
Ira S. Dizengoff            idizengoff@akingump.com; srochester@akingump.com;
                            jrubin@akingump.com; apreis@akingump.com;
                            tyhong@akingump.com
Kevin W Doherty             kwd@doherty-progar.com
Robert L. Doty              robert.doty@ohioattorneygeneral.gov
Dino J. Domina              djd@ddominalaw.com

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David R. Doyle             ddoyle@foxrothschild.com; kjanecki@foxrothschilds.com
Devon J. Eggert            deggert@freeborn.com; bkdocketing@freeborn.com;
Robert E Eggmann           ree@carmodymacdonald.com; pjf@carmodymacdonald.com;
                           reggmann@ecf.inforuptcy.com; ala@carmodymacdonald.com
William J Factor           wfactor@wfactorlaw.com; wfactorlaw@gmail.com;
                           bharlow@wfactorlaw.com; wfactor@ecf.inforuptcy.com;
                           wfactormyecfmail@gmail.com; factorwr43923@notify.bestcase.com
Thomas R. Fawkes           tomf@goldmclaw.com; seanw@restructuringshop.com;
                           teresag@restructuringshop.com
Laura M. Finnegan          lmfinnegan@baumsigman.com
Daniel A. Fliman           courtnotices@kasowitz.com
Erik Fox                   efox@cogburnlaw.com
Joseph D. Frank            jfrank@fgllp.com; ccarpenter@fgllp.com; jkleinman@fgllp.com;
                           mmatlock@fgllp.com
Jamie S Franklin           jsf@thefranklinlawfirm.com
Jonathan P. Friedland      jfriedland@sfgh.com; bkdocket@sfgh.com;
Adam Friedman              afriedman@olshanlaw.com
Thomas B Fullerton         thomas.fullerton@akerman.com
Matthew Gartner            matthew.gartner@huschblackwell.com; legalsupportteam-10flnorth-
                           slc@huschblackwell.com
Eugene J. Geekie, Jr.      eugene.geekie@saul.com; cynthia.enright@saul.com
Mary Anne Gerstner         gerstlaw2@sbcglobal.net
Sara T. Ghadiri            ghadiri@chapman.com
Steven A. Ginther          ndilecf@dor.mo.gov
Gabriel Glazer             gglazer@pszjlaw.com
David L. Going             dgoing@armstrongteasdale.com; crupp@armstrongteasdale.com
Craig T. Goldblatt         craig.goldblatt@wilmerhale.com
Gordon E. Gouveia          ggouveia@foxrothschild.com; kjanecki@foxrothschild.com
Lorraine M Greenberg       lgreenberg@greenberglaw.net; r41893@notify.bestcase.com
Joshua Greenblatt          josh.greenblatt@kirkland.com; kenymanagingclerk@kirkland.com
Nicole Greenblatt          nicole.greenblatt@kirkland.com; bfriedman@kirkland.com;
                           melissa.koss@kirkland.com; alex.cross@kirkland.com
Lisa Gretchko              lgretchko@howardandhoward.com
Steven B Gross             sbg224@gmail.com
Cameron M. Gulden          USTPRegion11.es.ecf@usdoj.gov
John W Guzzardo            jguzzardo@hmblaw.com; ecfnotices@.hmblaw.com
Stephen C. Hackney         stephen.hackney@kirkland.com
William S. Hackney, III    whackney@salawus.com; jadams@salawus.com;
                           mcockream@salawus.com; dkreide@salawus.com
Oren B. Haker              oren.haker@stoel.com; jennifer.lowes@stoel.com;
                           docketclerk@stoel.com
Aaron L. Hammer            ahammer@hmblaw.com; ecfnotices@hmblaw.com
Kristopher Hansen          mmagzamen@stroock.com; dmohamed@stroock.com;
                           mlaskowski@stroock.com; jcanfield@stroock.com;
                           fmerola@stroock.com; jlau@stroock.com
Carrie Hardman             chardman@winston.com; dcunsolo@winston.com; carrie-hardman-
                           4684@ecf.pacerpro.com

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B. Lane Hasler              lanehasler@blhpc.com
Teri L. Havron              teri@ghalaw.com; tracee@ghalaw.com
Mark F. Hebbeln             mhebbeln@foley.com
Ashley Hendricks            ahendricks@cglawms.com
Bernard A Henry             bhenry@rieckcrotty.com
Daniel O Herrera            dherrera@caffertyclobes.com
David R. Herzog             drhlaw@mindspring.com; herzogschwartz@gmail.com
Roger J. Higgins            rhiggins@rogerhigginslaw.com
Timothy W. Hoffman          thoffmann@jonesday.com; kdenton@jonesday.com
John M Holowach             jholowach@jmhlegalgroup.com; bankruptcy@rjlegalgroup.com
Patrick L. Huffstickler     phuffstickler@dykema.com; aseifert@dykema.com
Paula K. Jacobi             pjacobi@btlaw.com; jsantana@btlaw.com;
Steve Jakubowski            sjakubowski@rsplaw.com
Elizabeth L. Janczak        ejanczak@freeborn.com; bkdocketing@freeborn.com
Bridgette E. Jenkins        bjenkins@walinskilaw.com
Julie A. Johnston-Ahlen     jjohnston-ahlen@novackandmacey.com;
                            mbianchi@novackmacey.com
Gary M. Kaplan              gkaplan@fbm.com
Harold L. Kaplan            hkaplan@foley.com
Brett A. Kaufman            brett@kaufmanlegal.net
Dennis J. Kellogg           dennisk@denniskellogglaw.com
Benjamin Kelly              benkellysr@comcast.net
Michael Kelly               michael.kelly@usdoj.gov; MRavelo@usa.doj.gov
Claire G. Kenny             cgkenny@mgklaw.com
Brittany E Kirk             brittany.kirk@dinsmore.com; alison.kidney@dinsmore.com
John Klamo                  gillt222@gmail.com
Gregg Kleiner               gkleiner@mckennalong.com; wowen@mckennalong.com
Jeremy C. Kleinman          jkleinman@fgllp.com; ccarpenter@fgllp.com; mmatlock@fgllp.com
Richard S. Lauter           richard.lauter@lewisbrisbois.com; lbbscaesars@gmail.com;
Ryan O. Lawlor              ryan.lawlor@bryancave.com
Patrick S Layng             USTPRegion11.ES.ECF@usdoj.gov
Vincent E. Lazar            vlazar@jenner.com; docketing@jenner.com; thooker@jenner.com
Alan M. Lebensfeld          alan.lebensfeld@lsandspc.com
Caren A. Lederer            calederer@gct.law; mperez@gct.law; stasciotti@gct.law;
                            tstephenson@gct.law; aleon@gct.law
Steven H. Leech             s.leech@gozdel.com
Mark E. Leipold             mleipold@gouldratner.com; gferguson@gouldratner.com;
                            lgray@gouldratner.com; mhannon@gouldratner.com; gould-
                            ecf_notice@juralaw.net
John P. Leon                jleon@subranni.com; desk@subranni.com
Theodore S. Leonas          tl@leonaslawoffices.com
Brandon Levitan             blevitan@proskauer.com; npetrov@proskauer.com;
                            mbienenstock@proskauer.com; jliu@proskauer.com;
                            pabelson@proskauer.com; GRAICHT@proskauer.com;
                            vindelicato@proskauer.com; ebarak@proskauer.com;
                            mzerjal@proskauer.com; ctheodoridis@proskauer.com
Michael Joseph Linneman     linnemanm@jbltd.com

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Jordan M Litwin                 jordan@litwinlawfirm.com
Sara E. Lorber                  slorber@wfactorlaw.com; slorber@ecf.inforuptcy.com;
                                nbouchard@wfactorlaw.com; bharlow@wfactorlaw.com
David M. Madden                 dmadden@sfgh.com
Haig M. Maghakian               paronzon@milbank.com; tkreller@milbank.com;
                                rbaggs@milbank.com; dmuhrez@milbank.com;
                                svora@milbank.com; rwindom@milbank.com
John Malevitis                  jhnymal@comcast.net
Jeff J. Marwil                  jmarwil@proskauer.com; mzerjal@proskauer.com;
                                ctheodoridis@prokauer.com; sma@proskauer.com;
Richard McCord                  rmccord@certilmanbalin.com
William F. McCormick            bill.mccormick@ag.tn.gov
Daniel J McGuire                dmcguire@winston.com; ECF_BANK@winston.com; dan-
                                mcguire-2746@ecf.pacerpro.com
Regina McIlvaine                regina@lowenthalabrams.com; antoinette@lowenthalabrams.com
Joshua M. Mester                jmester@jonesday.com; gmarinelli@jonesday.com;
                                vcrawford@jonesday.com; ekswanholt@jonesday.com;
                                aldufault@jonesday.com
James H. Millar                 james.millar@dbr.com
Nicholas M. Miller              nmiller@ngelaw.com; ecfdocket@ngelaw.com;
                                cdennis@ngelaw.com; mmirkovic@ngelaw.com
Bryan E. Minier                 bminier@lathropgage.com; mvargas@lathropgage.com;
                                krodriguez@lathropgage.com
Michael L Molinaro              michael.molinaro@akerman.com; kelley.evans@akerman.com
James Morgan                    jem@h2law.com; smckinney@howardandhoward.com
Margreta Morgulas               mmorgulas@okinhollander.com
Kevin H. Morse                  khmorse@saul.com
Christopher J. Nadeau           cnadeau@traublieberman.com
Roger J Naus                    rjnaus@wwmlaw.com; gbrown@wwmlaw.com
David M Neff                    dneff@perkinscoie.com; nbagatti@perkinscoie.com; david-neff-
                                perkins-coie-2051@ecf.pacerpro.com
David Neier                     dneier@winston.com
John R. O’Connor                joconnor@sfgh.com; bkdocket@sfgh.com
Michael V Ohlman                mvohlman@ohlmanlaw.com; admin@ohlmanlaw.com
Mark Page                       mpage@kelleydrye.com;
                                KDWBankruptcyDepartment@kelleydrye.com;
                                BankruptcyDepartment@Kelleydrye.com
Robert L. Pattullo Jr.          pattullo@pattullolaw.com
Jeffrey Pawlitz                 jpawlitz@kirkland.com
Lars Peterson                   lapeterson@foley.com
Lanora Pettit                   lpettit@robbinsrussell.com
Paul Possinger                  ppossinger@proskauer.com; mthomas@proskauer.com;
                                mlespinasselee@proskauer.com; nwilliams@proskauer.com;
                                npetrov@proskauer.com; erodriguez@proskauer.com;
                                ddesatnick@proskauer.com
Jody B. Pravecek                jody@pcfcash.com
Megan Preusker                  mpreusker@mwe.com

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Eric S. Prezant            eric.prezant@bclplaw.com; dortiz@bclplaw.com
Scott A Pyle               spyle@rubinoruman.com; amanuel@ rubinoruman.com;
                           ttoso@rubinoruman.com
Robert Radasevich          rradasevich@ngelaw.com; ewilson@ngelaw.com;
                           ecfdocket@ngelaw.com
Amy Rapoport               agibson@agdglaw.com; wserritella@agdglaw.com;
                           jcole@agdglaw.com
N. Neville Reid            nreid@foxswibel.com; bkdocket@foxswibel.com;
                           bwilson@foxswibel.com
Benjamin Rhode             benjamin.rhode@kirkland.com; dzott@kirkland.com;
                           jzeiger@kirkland.com; judson.brown@kirkland.com;
                           christopher.greco@kirkland.com; tlambert@kirkland.com;
                           gabriel.king@kirkland.com; aaron.david@kirkland.com
Richard Reinthaler         rreinthaler@winston.com
Trent L. Richards          trichards@blgwins.com; hdaniels@blgwins.com
Michael J. Ripes           mripes@rnbk.com
Zachary A Risk             riskz1@michigan.gov
Richard Schonfeld          rreyes@cslawoffice.net
Peter J. Roberts           proberts@shawfishman.com
Daniel P. Roeser           droeser@goodwinlaw.com
David Rosner               drosner@kasowitz.com; courtnotices@kasowitz.com
Craig Rothenberg           crothenberg@rrbslawnj.com
Nathan Q. Rugg             nathan.rugg@bfkn.com; jean.montgomery@bfkn.com
Christina Sanfelippo       csanfelippo@shawfishman.com; orafalovsky@shawfishman.com
Brandy A Sargent           basargent@stoel.com; erheaston@stoel.com; docketclerk@stoel.com;
                           obhaker@stoel.com; cejordan@stoel.com; eleliasen@stoel.com
                           jason.abrams@stoel.com
Ryan T. Schultz            rschultz@foxswibel.com; bkdocket@fslc.com
Leslee Schwartz            lschwartzatty@gmail.com
Samuel Schwartz            ecf@schwartzlawyers.com; schwartzecf@gmail.com
John Sciaccotta            jsci@agdglaw.com; molson@agdglaw.com
Susan H Seabury            susan.seabury@bakertilly.com
David R. Seligman          dseligman@kirkland.com, maureen.mccarthy@kirkland.com;
                           gregory.pesce@kirkland.com; christopher.hayes@kirkland.com
                           gerardo.mijaresshafai@kirkland.com;
                           alice.nofzinger@kirkland.com; anthony.abate@kirkland.com;
                           kyle.arendsen@kirkland.com
Jack M. Shapiro            jack@danielgoodmanlaw.com
Brian L. Shaw              bshaw@foxrothschild.com; cknez@foxrothschild.com
Patrick Sibley             psibley@pryorcashman.com; slieberman@pryorcashman.com;
                           msilverman@pryorcashman.com
Peter A. Siddiqui          peter.siddiqui@kattenlaw.com
Stephen J. Siegel          ssiegel@novackandmacey.com; cziganto@novackandmacey.com
Andrew I. Silfen           andrew.silfen@arentfox.com; mark.joachim@arentfox.com;
                           jackson.toof@arentfox.com; beth.brownstein@arentfox.com;
                           manuel.arreaza@arentfox.com; lisa.indelicato@arentfox.com
Kevin C. Smith             ksmith@smithsersic.com; dgreen@smithsersic.com

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Wesley J. Smith            wes@cjmlv.com
Jeffrey I. Snyder          jsnyder@bilzin.com; eservice@bilzin.com
Jean Soh                   jsoh@polsinelli.com; chicagodocketing@polsinelli.com
Michael T Sprengnether     mts@doherty-progar.com
Catherine L Steege         csteege@jenner.com; docketing@jenner.com
Richard A Stieglitz        rstieglitz@cahill.com
Richard M Strassberg       rstrassberg@goodwinlaw.com
Roman Sukley               roman.l.sukley@usdoj.gov; USTPRegion11.es.ecf@usdoj.gov;
                           cameron.g.gulden@usdoj.gov
Benjamin Swetland          bswetland@cherry-law.com
John E Tangren             jtangren@gelaw.com; gnovod@gelaw.com;
Mark K. Thomas             mthomas@proskauer.com
Joseph M. Tiller           jtiller@jonesday.com
L. Judson Todhunter        JTodhunter@howardandhoward.com
Jennifer A. Trofa          jtrofa@subranni.com; desk@subranni.com
John D. VanDeventer        jvandeventer@jenner.com
Elizabeth B. Vandesteeg    evandesteeg@sfgh.com; bkdocket@sfgh.com
Michael D Warner           mwarner@coleschotz.com; klabrada@coleschotz.com
Matthew Warren             matthew.warren@lw.com; chefiling@lw.com;
                           beth.arnold@lw.com
Martin J. Wasserman        mwasserman@carlsondash.com; knoonan@carlsondash.com
Louis H. Watson            louis@watsonnorris.com
Daniel I. Waxman           lexbankruptcy@wyattfirm.com
Jeramy D Webb              jwebb@proskauer.com
Brian P Welch              bwelch@burkelaw.com; gbalderas@burkelaw.com
Paul M Weltlich            pweltlich@lksu.com
Latonia Williams           lwilliams@goodwin.com; bankruptcy@goodwin.com;
                           bankruptcyparalegal@goodwin.com
Sean P. Williams           sean.williams@saul.com
Jolene Wise                wisej@sec.gov
Samuel C. Wisotzkey        swisotzkey@kmksc.com; kmksc@kmksc.com
Scott A Wolfson            swolfson@wolfsonbolton.com; stravis@wolfsonbolton.com
Xiaoming Wu                notice@billbusters.com; billbusters@iamthewolf.com;
                           billbusters@ecf.inforuptcy.com
Amanda S. Yarusso          amanda.yarusso@gmail.com
Barbara L Yong             blyong@gctlaw.com; mperez@gctlaw.com;
                           myproductionss@gmail.com; tstephenson@gctlaw.com;
                           aleon@gctlaw.com; r61390@notify.bestcase.com
Artur Zadrozny             artur@bzlaw-firm.com
David I Zalman             dzalman@kelleydrye.com
Scott M. Zauber            szauber@subranni.com; desk@subranni.com
Jeffrey Zeiger             jzeiger@kirkland.com
David J Zott               dzott@kirkland.com; joe.graham@kirkland.com;
                           james.sprayregen@kirkland.com; maureen.mccarthy@kirkland.com;
                           anthony.abate@kirkland.com; jeffrey.zeiger@kirkland.com



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